John Frost Jr

From:                              John C. Zimmermann <jczimmermann@tndagc.org>
Sent:                              Friday, December 1, 2017 11:16 AM
To:                                                       'glen.everett@tn.gov'
Cc:                                - - 'ella.carpenter@tn.gov'; 'jennifer.sullivan@tn.gov';
                                   'rebecca.hernandez@tn.gov'; Jennings H. Jones
Subject:                           lab reports
Attachments:                       20171201114426.pdf


Glenn,

Can you look over these reports and help us reconcile them?


L a b # - by Hernandez (this was the first lab report that kicked off this investigation) and found exhibit to be
schedule VI and containing a synthetic drug 5-Fiuoro ADB.

After this seizure the stores switched to other items and began selling "Hemp Bomb gummy edibles"
Police are seizing "Hemp Bond Gummies" from various stores. Same mfg and packaging.

               by Sullivan changed the description of the exhibit from what was on the request form to "sugar coated
gummy bear" even though the exhibit description had the Hemp Bomb description

Lab   11111111!    by Hernandez changed the description of the exhibit from what was on the Request form, and found
the test to be "Inconclusive". This in spite of the fact that D e t . - informed that It was the same packaging for
all the above.

L a b # - by Carpenter properly described the "Hemp Bond gummy edibles" but shows "No anlaysis
performed" though on the second exhibit she did a test and found it to be Cannabidiol, BUT did not list it as a schedule
VI substance (the schedule column has a hyphen through it).

Before we indict these owners of businesses, and padlock their businesses, we want to make sure we are understanding
what is being offered for sale. Pollee say we have about 20 businesses and I want to make sure we are on the same
page as the expert chemists.

Thanks for the hard work of your staff to make these quick turn a rounds, and for getting these reports done so quickly.

John C. Zimmermann
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